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             EXHIBIT H
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                KARYN ANN SHEALY ATTORNEY AFFIRMATION:
                          ATTORNEY OF RECORD FOR J.L.G.O.

I, Karyn Ann Shealy, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct to the best of my knowledge and belief:

   1. I am a staff attorney of the New York Immigrant Family Unity Project at The Legal
       Aid Society, located at 49 Thomas Street, Fifth Floor, New York, New York
       10013. I am admitted to the New York State Bar, license number 6161160, and the
       Massachusetts State Bar, license number 703929. I represent J.L.G.O.

   2. On March 14, 2025, I sent an email request to El Valley Detention Facility
                                                      .G.O. on March 15, 2025. My
       request was not granted. On March 15, 2025, I sent another email request to EVDF
       for an urgent attorney call with J.L.G.O. on March 16, 2025. The request was
       granted and confirmed by EVDF. However, on March 16, 2025, I did not receive
       the confirmed attorney call. I called and emailed EVDF but did not receive a
       response. On March 16, 2025, I emailed another request to EVDF for an urgent
       attorney call with J.L.G.O on March 17, 2025. The request was granted, and the
       following reflects statements made by J.L.G.O. during attorney calls on March 17
       and 18, 2025.

   3. Around the beginning of March 2025, while J.L.G.O. was detained by ICE at the
       Orange County Correctional Facility in Goshen, New York, the risk designation on
       his identification badge was changed from low to medium high. J.L.G.O. asked an
       officer why his designation had been changed, and he was told that ICE must have
       seen something in his file.

   4. The officer asked J.L.G.O. if he had been part of a gang. J.L.G.O. vehemently
       denied any affiliation with a gang, past or present. J.L.G.O. was confused about
       why he was being questioned about gang affiliation and asked to speak with an
       ICE officer. J.L.G.O. was told that he had to wait until the ICE officer was
       available in three days. J.L.G.O. has consistently stated to this affirmant that he
       has never had any connection or affiliation with any gangs.

   5. Two days later, on March 8, 2025, at approximately 3 AM, J.L.G.O. was awoken,
       taken out of his cell and transferred along with other Venezuelans to EVDF. J.L.G.O.
       did not know his destination until he arrived.

   6. On March 12, 2025, an officer at EDVF asked J.L.G.O. to sign a paper in English,
       which he cannot speak or read fluently. J.L.G.O. asked what the paper said and was
       told that the paper was to acknowledge his prior transfer from Orange County
       Correctional Facility to EVDF. J.L.G.O. asked for someone to translate the paper, but
       the officer said that he was wasting his time and instructed J.L.G.O. to leave. J.L.G.O.
       refused to sign the paper.

   7. On March 14, 2025, at approximately 3 AM, J.L.G.O. was awoken, taken out of his
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   cell, and transported to a large building. J.L.G.O. was kept with more than 100 other
   detainees from Venezuela. At approximately 12:30 PM, an ICE officer announced that
   a flight had been cancelled because the plane did not pass inspection. The ICE officer
   also told J.L.G.O. that everyone would be deported the next night. J.L.G.O. heard from
   other detainees that they were to be deported to El Salvador or Guantanamo Bay and
   was terrified.

8. On March 15, 2025, around 7:30 AM, officers took J.L.G.O. into a big room with
   other Venezuelan detainees. Officers told everyone to change into their civilian
   clothing and receive their personal items. J.L.G.O. was shackled on his wrists, waist,
   and ankles and loaded onto a bus. J.L.G.O. was terrified and believed he was to be
   taken to another detention facility. However, J.L.G.O. was driven approximately 40
   minutes to an airport.

9. At the airport, a helicopter and media crews took pictures and recorded video of
   J.L.G.O. and other Venezuelan detainees. J.L.G.O. saw officials in uniforms with the
   lettering of DEA, FBI, and ICE. J.L.G.O. and the other detainees were taken out of the
   buses and loaded in groups of 10 onto the airplanes.

10. On the plane, J.L.G.O. and the other detainees asked the officers where they were being
   taken                                                                    ed. J.L.G.O.
   described a scene of panic and fear as he and the other detainees desperately begged for
   information. The officers refused to speak to the detainees and would only speak
   amongst themselves in English and laugh.

11. After J.L.G.O. was on the plane for what seemed like 30 minutes to one hour, an officer
   got on the plane and called out five names, including J.L.G.O. The officer told J.L.G.O.
   to get off the plane. After J.L.G.O. got off the plane, one of the five men asked the
   officer what was going to happen to them. The officer said that the group had just won
   the lottery and laughed.

12. The officers then loaded J.L.G.O. and the other four men onto the bus still shackled.
   The group was transferred to another bus where 8-12 other detainees were seated in
   shackles. J.L.G.O. was held shackled on the bus for what seemed like two to three
   hours. J.L.G.O. and the other individuals asked and begged officers for food and water.
   The officers did not provide any water or food but instead drank water themselves in
   front of them and laughed.

13. One of the other men who had been pulled off the plane was seated in direct sunlight on
                                            , and the officers yelled at the man to close his
   nose. However, the man was shackled and could not reach his nose. The officers
   continued to yell at the man to close his nose and to stop the drama.

14. J.L.G.O. and the others on the bus returned to EVDF at approximately 8 PM and did not
   receive any food until around 9 PM.

15. J.L.G.O. was overcome with emotion many times, including crying uncontrollably and
   expressing fear of being deported at any moment, while recounting the events of the
   weekend during our attorney calls on March 17 and 18, 2025. J.L.G.O reports that he
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        is experiencing extreme fear, sadness, and anxiety as a result of the events of the
        weekend. He has a poor appetite and struggles to sleep. He sleeps at most two to three
        hours per night and when he manages to sleep, he experiences nightmares and
        flashbacks of the events of the weekend.

 I declare under penalty of perjury that the foregoing is true and correct to the best of my
 knowledge.




March 19, 2025                                               ___________________
New York, NY                                                 Karyn Ann Shealy, Esq.
